    Case: 1:17-cv-09011 Document #: 33 Filed: 08/29/18 Page 1 of 5 PageID #:222



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


CARMEN CONSOLINO, et. al.,                         )
              Plaintiffs,                          ) Case No. 17 CV 09011
                                                   )
       v.                                          ) Honorable Judge Robert M. Dow, Jr.
                                                   ) Magistrate Sidney I. Schenkier
THOMAS J. DART, et. al.                            )
                 Defendants.                       )

   DEFENDANTS, COUNTY OF COOK’s MOTION TO ENLARGE TIME WITHIN
           WHICH TO ANSWER OR OTHERWISE PLEAD THE
                SECOND AMENDED COMPLAINT AT LAW

       NOW COMES Defendant, the County of Cook, by its counsel, Assistant State’s

Attorney, Megan E. Inskeep, and moves this Court for an Order to enlarge the time for it to

answer Plaintiffs’ Second Amended Complaint at Law and file any necessary motions on the

pleadings, pursuant to Federal Rule 6(b)(1)(A.) In support of said motion, defendant states as

follows:

       1.     On August 18, 2018, Plaintiffs’ filed their Second Amended Complaint at Law

              [Dkt. 32.] Pursuant to Federal Rule 15, defendants are to file their responsive

              pleadings within 14 days (September 4, 2018.)

       2.     This matter is part of the Mandatory Initial Discovery Pilot Program (MIDP)

              which requires defendants to answer the pending Complaint simultaneous with

              any motions to dismiss. [Dkt. 3.]

       3.     MIDP further requires initial discovery responses to be filed within 30 days of the

              answer on the pleadings. As such, MIDP would be due on October 4, 2018.

       4.     On August 23, 2018, Chancery court Judge Mitchell granted the State’s

              Attorney’s Petition for the appointment of a Special State’s Attorney. The firm of
        Case: 1:17-cv-09011 Document #: 33 Filed: 08/29/18 Page 2 of 5 PageID #:223



                    Laner Muchin, Ltd. was appointed. [Order of August 23, 2018, attached as Ex.

                    A.]

           5.       Laner Muchin attorneys have not yet filed their appearance(s) in this matter.

           6.       Due to the recognized conflict and appointment of a Special State’s Attorney, the

                    undersigned cannot perform any substantive work on this case.1

           7.       The Laner Muchin attorneys require time to review the materials on this file,

                    which are extensive.

           8.       Due to the complexity of this matter, along with the size of this file, Laner

                    Muchin attorneys will not be able to properly respond to Plaintiffs’ Second

                    Amended Complaint by September 4, 2018 or answer MIDP on October 4, 2018.

           9.       Pursuant to Federal Rule 6 (b)(1)(A), the court may enlarge the time to file an

                    answer for good cause. The appointment of new counsel on August 23, 2018, is

                    the required good cause for granting additional time to file responsive pleadings

                    and answer initial discovery.

           10.      This request is made in good faith and is not made to frustrate the Court, delay

                    matters, or prejudice any party.

           11.      To deny this request would severely prejudice the County, requiring it to answer

                    or plead to the Second Amended Complaint without benefit of a thorough review

                    of the file materials.




1
    However, the undersigned remains counsel of record until Laner Muchin attorneys file their appearance(s).
    Case: 1:17-cv-09011 Document #: 33 Filed: 08/29/18 Page 3 of 5 PageID #:224



       WHEREFORE, Defendant, the County of Cook, respectfully request this Honorable

Court enlarge the time for it to answer and file any necessary motion(s) to dismiss the Second

Amended Complaint at Law, up to and including October 4, 2018. Defendant further requests

the Court require initial discovery responses no sooner than November 2, 2018.




Dated: August 29, 2018                             Respectfully Submitted,


                                                   /s/ Megan Inskeep
                                           By:     ______________________
                                                   Megan Inskeep
                                                   Assistant State’s Attorney
                                                   536 Richard J. Daley Center
                                                   Chicago, Illinois 60602
                                                   (312) 603-1902
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Case: 1:17-cv-09011 Document #: 33 Filed: 08/29/18 Page 4 of 5 PageID #:225




                        Exhibit A
Case: 1:17-cv-09011 Document #: 33 Filed: 08/29/18 Page 5 of 5 PageID #:226
